                                Case: 17-13915                  Doc: 5     Filed: 09/29/17           Page: 1 of 2

Information to identify the case:
Debtor 1               Michael John Mohr                                                     Social Security number or ITIN    xxx−xx−2724
                       First Name    Middle Name    Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2               Chrystal Rene Mohr                                                    Social Security number or ITIN    xxx−xx−2428
(Spouse, if filing)
                       First Name    Middle Name    Last Name                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court                 Western District of Oklahoma                  Date case filed for chapter 13 9/29/17
Case number: 17−13915 − JDL


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                      12/15


                  For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code.
                                              An order for relief has been entered.

 This notice has important information about the case for creditors, debtors, and trustees, including information about
                          the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in
effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge
under 11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified
in this notice. Creditors who want to have their debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office by the same deadline. (See line 13 below for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                                     The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court. Do not file this notice with any proof of claim or other filing in the case.
Do not include more than the last four digits of a Social Security or Individual Taxpayer Identification Number in any
document, including attachments, that you file with the court.
                                               About Debtor 1:                                        About Debtor 2:
1. Debtor's full name                          Michael John Mohr                                      Chrystal Rene Mohr
2. All other names used in the
   last 8 years
3. Address                                     3905 Creek Bank Rd                                     3905 Creek Bank Rd
                                               Edmond, OK 73003−3543                                  Edmond, OK 73003−3543
4. Debtor's attorney                           Kenneth L. Spears                                     Contact phone (405) 236−1503
   Name and address                            210 N.W. 10th Street                                  Email: klspears@coxinet.net
                                               Oklahoma City, OK 73103
5. Bankruptcy trustee                          John T. Hardeman                                       Contact phone (405) 236−4843
   Name and address                            PO Box 1948
                                               Oklahoma City, OK 73101
6. Bankruptcy clerk's office                   215 Dean A. McGee                                      Hours open 8:30am − 4:30pm
   Documents in this case may be filed         Oklahoma City, OK 73102
   at this address. You may inspect all                                                               Contact phone (405) 609−5700
   records filed in this case at this office
   or online at www.pacer.gov.
                                                                                                      Date: 9/29/17
                                                                                                               For more information, see page 2 >
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Debtor Michael John Mohr and Chrystal Rene Mohr                                                                                    Case number 17−13915

7. Meeting of creditors                   November 9, 2017 at 09:15 AM                                      Location:
   Debtors must attend the meeting to
   be questioned under oath. In a joint The meeting may be continued or adjourned to a later date.          215 Dean A. McGee Avenue, Room
   case, both spouses must attend.      If so, the date will be on the court docket.                        113, Oklahoma City, OK 73102
   Creditors may attend, but are not
   required to do so.
8. Deadlines                              Deadline to file a complaint to challenge                               Filing deadline: 1/8/18
                                          dischargeability of certain debts:
   The bankruptcy clerk's office must
   receive these documents and any        You must file:
   required filing fee by the following   • a motion if you assert that the debtors are
   deadlines.                               not entitled to receive a discharge under
                                            U.S.C. § 1328(f) or
                                          • a complaint if you want to have a particular
                                            debt excepted from discharge under
                                            11 U.S.C. § 523(a)(2) or (4).
                                          Deadline for all creditors to file a proof of claim                     Filing deadline: 2/7/18
                                          (except governmental units):
                                          Deadline for governmental units to file a proof of                      Filing deadline: 3/28/18
                                          claim:


                                          Deadlines for filing proof of claim:
                                          A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                          www.uscourts.gov or any bankruptcy clerk's office.
                                          If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                          a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                          For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                          including the right to a jury trial.


                                          Deadline to object to exemptions:                                        Filing               30 days after the
                                          The law permits debtors to keep certain property as exempt. If you       deadline:            conclusion of the
                                          believe that the law does not authorize an exemption claimed, you                             meeting of
                                          may file an objection.                                                                        creditors


                                          Deadline for Filing Objections to Confirmation and/or Objections to the Confirmation
                                          Hearing being Held Concurrently with the Meeting of Creditors
                                          Three days prior to the above stated date of Meeting of Creditors/Hearing on Confirmation
9. Filing of plan                         The debtor has filed a plan. The plan or a summary of the plan is enclosed. The hearing on
                                          confirmation will be held on: 11/9/17 at 09:15 AM, Location: 215 Dean A. McGee Avenue,
                                          Room 113, Oklahoma City, OK 73102
                                          This Notice includes notice of an opportunity for hearing on confirmation. The hearing on confirmation will be
                                          held concurrently with the meeting of creditors unless an objection to such concurrent hearing is timely filed or
                                          raised at the meeting of creditors. If no objection to confirmation, or to confirmation being held concurrently with
                                          the meeting of creditors, is timely filed, or raised orally at the meeting of creditors, the Chapter 13 Trustee will
                                          submit the confirmation order to the Court for entry without further hearing. For more information, please refer to
                                          Appendix C of the Local Rules available at the Clerk's Office or online at www.okwb.uscourts.gov.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                               extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                          any questions about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                       according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                          later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                          hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                          unless the court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                          exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                          the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                          However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                          are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                          as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                          523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                          If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                          must file a motion.

           A Photo ID is required to enter the building. Weapons, including pocket knives, are not permitted in the building.
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